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               EXHIBIT F
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Plassio, Patrick V.

From:                           Plassio, Patrick V.
Sent:                           Tuesday, May 7, 2024 9:27 AM
To:                             Morton, Phillip; Gershenson, Adam
Cc:                             Almeling, David; Cope, Kristin; Strauss, Samantha A; Plassio, Patrick V.
Subject:                        RE: CesiumAstro v. Luther, et al. - Disclosure of Investor C and Customer A Identities



Phil,

We have conferred with our client and agree to re-designating the identities of Investor
C and Customer A to “Confidential” under the terms of the protective order.

Insofar as your emails suggest otherwise, we do not view this re-designation as
required by the parties’ agreement as memorialized in recently filed JSR. Instead, we
take your point that disclosure on these terms will facilitate the exchange of
discovery. Accordingly, we expect this disclosure will assist AnySignal in providing
discovery responses and productions that are as complete as possible, in line with the
parties’ agreements and the court’s order.

Patrick V. Plassio
O: +1-972-360-1931
M: +1-717-979-3185
pplassio@omm.com



From: Morton, Phillip <pmorton@cooley.com>
Sent: Monday, May 6, 2024 3:48 PM
To: Plassio, Patrick V. <pplassio@omm.com>; Gershenson, Adam <agershenson@cooley.com>
Cc: Almeling, David <dalmeling@omm.com>; Cope, Kristin <kcope@omm.com>; Strauss, Samantha A
<sastrauss@cooley.com>
Subject: Re: CesiumAstro v. Luther, et al. - Disclosure of Investor C and Customer A Identities


[EXTERNAL MESSAGE]

Patrick-

Please confirm we can share the identities of Customer A and Investor C with AnySignal personnel. We
need to be able to share that information with AnySignal personnel in order to move forward.

Regards,
Phil



                                                          1
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From: Morton, Phillip <pmorton@cooley.com>
Sent: Friday, May 3, 2024 10:35 PM
To: Plassio, Patrick V. <pplassio@omm.com>; Gershenson, Adam <agershenson@cooley.com>
Cc: Almeling, David <dalmeling@omm.com>; Cope, Kristin <kcope@omm.com>
Subject: Re: CesiumAstro v. Luther, et al. - Disclosure of Investor C and Customer A Identities

Patrick-

The identity of Customer A and Investor C are fundamental to the agreement to conduct expedited
discovery. How do you expect us to investigate or obtain the expedited discovery from AnySignal when
we can't identify Customer A or Investor C to anyone at the company? How will AnySignal answer written
deposition questions about Customer A or Investor C without their identities?

CesiumAstro cannot reasonably expect AnySignal to move forward with any of the expedited discovery
without sharing the identity of Customer A and Investor C with personnel at AnySignal. We ask that your
client reconsider this position.

Regards,
Phil


From: Plassio, Patrick V. <pplassio@omm.com>
Sent: Friday, May 3, 2024 10:03 PM
To: Morton, Phillip <pmorton@cooley.com>; Gershenson, Adam <agershenson@cooley.com>
Cc: Almeling, David <dalmeling@omm.com>; Cope, Kristin <kcope@omm.com>; Plassio, Patrick V.
<pplassio@omm.com>
Subject: RE: CesiumAstro v. Luther, et al. - Disclosure of Investor C and Customer A Identities

[External]

Phil,

I’m not sure I understand your request. As I noted, this sensitive information is
designated AEO. Consistent with that designation and paragraph 2(a) of the protective
order, this information may not be shared with personnel at AnySignal.

Patrick V. Plassio
O: +1-972-360-1931
M: +1-717-979-3185
pplassio@omm.com



From: Morton, Phillip <pmorton@cooley.com>
Sent: Friday, May 3, 2024 6:43 PM
To: Plassio, Patrick V. <pplassio@omm.com>; Gershenson, Adam <agershenson@cooley.com>
Cc: Almeling, David <dalmeling@omm.com>; Cope, Kristin <kcope@omm.com>
Subject: Re: CesiumAstro v. Luther, et al. - Disclosure of Investor C and Customer A Identities


[EXTERNAL MESSAGE]
                                                            2
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Patrick-

Without prejudice to our right to challenge this confidentiality designation, please confirm that we may
share this information with personnel at AnySignal.

Regards,
Phil



From: Plassio, Patrick V. <pplassio@omm.com>
Sent: Friday, May 3, 2024 7:26 PM
To: Morton, Phillip <pmorton@cooley.com>; Gershenson, Adam <agershenson@cooley.com>
Cc: Almeling, David <dalmeling@omm.com>; Cope, Kristin <kcope@omm.com>; Plassio, Patrick V.
<pplassio@omm.com>
Subject: CesiumAstro v. Luther, et al. - Disclosure of Investor C and Customer A Identities

[External]

Phil, Adam,

Pursuant to paragraph 9 of the JSR we filed last week (ECF No. 22), Investor C’s identity
is Lavrock Ventures and Customer A’s identity is Vast. This information is designated
Attorneys Eyes Only under the protective order and must be treated as such.

O’Melveny
Patrick V. Plassio
Counsel
pplassio@omm.com
O: +1-972-360-1931
M: +1-717-979-3185

O’Melveny & Myers LLP
2801 N. Harwood Street, Suite 1600
Dallas, TX 75201
Website | LinkedIn
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